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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                            Case No. 23-cv-02880-JSC
                                                        Plaintiff,
                                   8
                                                                                              ORDER RE: TEMPORARY
                                                 v.                                           RESTRAINING ORDER AND
                                   9
                                                                                              PRELIMINARY INJUNCTION
                                  10     MICROSOFT CORPORATION, et al.,
                                                                                              Re: Dkt. No. 7
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Federal Trade Commission (FTC) brings this action for provisional relief pursuant to

                                  14   Section 13(b) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b). The FTC

                                  15   seeks a temporary restraining order (TRO) and preliminary injunction enjoining Defendants

                                  16   Microsoft and Activision from consummating a proposed transaction while the FTC’s

                                  17   administrative review of the transaction is pending.

                                  18          The Court, having read and considered the TRO, finds that temporary relief pursuant to

                                  19   Federal Trade Commission Act § 13(b), 15 U.S.C. § 53(b), is necessary to maintain the status quo

                                  20   while the Complaint is pending, preserve this Court’s ability to order effective relief in the event it

                                  21   determines a preliminary injunction is warranted, and preserve the FTC’s ability to obtain an

                                  22   effective permanent remedy in the event that it prevails in its pending administrative proceeding,

                                  23   In re Microsoft Corp. & Activision Blizzard, Inc., Docket No. 9412 (FTC). Accordingly, the

                                  24   FTC’s TRO is GRANTED, as follows:

                                  25          1. Microsoft and Activision shall not close or consummate their proposed transaction or a

                                  26              substantially similar transaction until after 11:59 p.m. Pacific Time on the fifth

                                  27              business day after the Court rules on the FTC’s request for a preliminary injunction

                                  28              under Federal Trade Commission Act § 13(b), 15 U.S.C. § 53(b), or a date set by the
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                                   1              Court, whichever is later; and

                                   2          2. Microsoft and Activision shall prevent any of their officers, directors, domestic or

                                   3              foreign agents, divisions, subsidiaries, affiliates, partnerships, or joint ventures from

                                   4              closing or consummating, directly or indirectly, the proposed transaction or a

                                   5              substantially similar transaction.

                                   6          The Court sets an evidentiary hearing on the preliminary injunction for June 22 and 23,

                                   7   2023, in Courtroom 8 at 450 Golden Gate Ave. San Francisco, California before the Honorable

                                   8   Jacqueline Scott Corley. Microsoft and Activision will submit their brief in opposition to the

                                   9   motion for preliminary injunction by June 16, 2023; the FTC shall submit its reply by noon, June

                                  10   20, 2023. The Court will issue a further order with instructions for format for the preliminary

                                  11   injunction evidentiary hearing.

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: June 13, 2023

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                                                                                                     EDWARD J. DAVILA for
                                  16                                                                 JACQUELINE SCOTT CORLEY
                                                                                                     United States District Judge
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